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                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


                              )
UNITED STATES OF AMERICA, )
                              )                      CRIM. No. 09-002-E-BLW
                              )
          Plaintiff,          )
                              )                      MEMORANDUM DECISION
v.                            )                      AND ORDER
                              )
                              )
VANESSA CATTANEA, and         )
RONALD BRET HAMILTON,         )
                              )
                              )
          Defendants.         )
______________________________)

                                       INTRODUCTION

       The Court has before it motions for acquittal or, in the alternative, for a new trial. The

motions are fully briefed and at issue. For the reasons explained below, the Court will deny the

motions.

                                LITIGATION BACKGROUND

           Defendants Bret Hamilton and Vanessa Cattanea were charged with health care fraud

and aiding and abetting health care fraud in violation of 18 U.S.C. §§ 1347 and 2. The charges

related to various billings to Medicaid by Teton Family Services, Inc., a mental health clinic

providing partial care services to children in Pocatello, Blackfoot, and American Falls, Idaho.

       A jury returned verdicts of guilty against Hamilton on 55 of 72 counts and verdicts of


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guilty against Cattanea on 76 of 84 counts. Both defendants filed motions for acquittal or, in the

alternative, new trial.

                                   STANDARD OF REVIEW

Rule 29

        Pursuant to Federal Rule of Criminal 29, a defendant is entitled to acquittal if, after

examining the evidence in the light most favorable to the government, no rational juror could

have found the essential elements of the crime beyond a reasonable doubt. United States v.

Odom, 329 F.3d 1032, 1034 (9th Cir. 2003). Circumstantial evidence alone, and the inferences

that can be drawn from circumstantial evidence, can be sufficient to sustain a conviction. United

States v. Yoshida, 303 F.3d 1145, 1151 (9th Cir. 2002). Viewing the evidence in the light most

favorable to the prosecution requires the Court to “presume . . . that the trier of fact resolved any

. . . conflicting inferences in favor of the prosecution. ” United States v. Rosales, 516 F.3d 749,

752 (9th Cir. 2008). The reviewing court “must respect the exclusive province of the fact finder

to determine the credibility of witnesses, resolve evidentiary conflicts, and draw reasonable

inferences from proven facts.” United States v. Hubbard, 96 F.3d 1223, 1226 (9th Cir. 1996).

Rule 33

        Under Federal Rule of Criminal Procedure 33, a Court may grant a new trial if the

interests of justice so require “in those exceptional cases in which the evidence preponderates

heavily against the verdict.” United States v. Rush, 749 F.2d 1369, 1371 (9th Cir. 1984). In

considering a motion for a new trial, the Court need not draw inferences from the evidence in

favor of the United States and may independently assess the credibility of witnesses. United

States v. Kellington, 217 F.3d 1084, 1097 (9th Cir. 2000).



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                                            ANALYSIS

Jury Instruction on Good Faith

       Defendant Cattanea argues that the Court’s failure to give a “good faith” instruction

allowed the jury to convict without focusing on specific intent. Where the district court

adequately instructs the jury on the intent to defraud, it need not also instruct the jury regarding

good faith. United States v. Dees, 34 F.3d 838, 842 (9th Cir. 1994). The Court gave an

instruction on the intent to defraud, and so determined at the jury instruction conference, after

hearing argument, that the “good faith” instruction was not necessary. The Court reaffirms that

decision here.

Insufficient Evidence

       Defendant Cattanea argues that the evidence was insufficient to support her conviction.

The Court denied her motion on this ground after the Government’s case-in-chief, and can find

no reason to change that decision. See Minute Entry (docket no. 78). Examined under either the

standard applicable to Rule 29 or Rule 33, the evidence is sufficient to support the convictions.

Inconsistent Verdict

       The defendants argue that the verdict is inconsistent. However, any inconsistency in the

verdict is not grounds for acquittal or a new trial. United States v. Powell, 469 U.S. 57, 66

(1984) (holding that allowing challenges to verdicts based on inconsistency would invade the

jury’s deliberative process and invite “pure speculation”). The defendants are protected by the

Court’s review of the sufficiency of the evidence, and the Court has found the evidence

sufficient for the counts of conviction. Id. at 67 (“a criminal defendant is afforded protection

against jury irrationality or error by the independent review of the sufficiency of the evidence . .



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.”). While there may be an exception to Powell if a miscarriage of justice results from the

inconsistency, the Court cannot find that exception applicable here.

       Moreover, the Government’s explanation of the jury verdict persuasively shows that it is

not inconsistent. See Government Brief (docket no. 97) at pp. 8-10. The Court agrees with that

explanation.

Separate Trials

       Defendant Cattanea argues again that her trial should have been severed from that of co-

defendant Hamilton. Because of their being joined for trial, she “lost the ability to call

[Hamilton] as a witness,” she argues. See Cattanea Brief at p. 6.

       A defendant seeking severance based upon the need for her co-defendant’s

testimony must establish that: (1) the defendant would call the co-defendant at a

severed trial; (2) the co-defendant would in fact testify; and (3) the testimony would be favorable

to the moving defendant. United States v. Hernandez, 952 F.2d 1110, 1114 (9th Cir.1991). Prior

to trial, the Court denied Cattanea’s motion for separate trials on the ground that she did not

show that Hamilton would in fact testify on her behalf if the severance was granted. See

Memorandum Decision (docket no. 42). At no point did Cattanea ever make the required

showing. Hence, being joined for trial with Hamilton cannot constitute a ground for Cattanea’s

aquittal or new trial. See U.S. v. Castro, 887 F.2d 988, 998 (9th Cir. 1989).

                                             ORDER

       In accordance with the Memorandum Decision set forth above,

       NOW THEREFORE IT IS HEREBY ORDERED, that the motions for new trial or, in the

alternative, for acquittal (docket nos. 92, 93 & 94) are DENIED.



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                            DATED: April 8, 2010




                             Honorable B. Lynn Winmill
                             Chief U. S. District Judge




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